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SEALED
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS FILED
AUSTIN DIVISION July 01, 2025

UNITED STATES OF AMERICA
Plaintiff

Vv

TIMOTHY JOSEPH LEIWEKE
Defendant

CLERK, U.S. DISTRICT COURT
WESTERN DISTRICT OF TEXAS

BY: MLG

INDICTMENT DEPUTY

[Ct. 1: 15 U.S.C. § 1 — Conspiracy to
Restrain Trade]

1:25-CR-00344 ADA

THE GRAND JURY CHARGES:
INTRODUCTION

Ie The charge in this Indictment arises from a scheme in which Defendant
TIMOTHY JOSEPH LEIWEKE conspired with a competitor to rig the bidding to develop,
manage, and operate an arena at a public university in Austin, Texas (the “Arena Project”).
Specifically, LETWEKE and a competitor agreed that the competitor would stand down and
neither submit nor join an independent competing bid so that LETWEKE’s company would win
the Arena Project and derive its economic benefits. In exchange for the competitor’s standing
down, LEIWEKE represented that the competitor would receive certain subcontracts for the

Arena Project and other consideration.

GENERAL ALLEGATIONS

Unless otherwise noted, at all times relevant to this Indictment:

Ds Defendant TIMOTHY JOSEPH LEIWEKE was a resident of California and was
the Co-Founder and Chief Executive Officer of Co-Conspirator Company-1 (“CC Company-1”).

3. CC Company-1 was a company initially headquartered in Los Angeles, California,
and later headquartered in Greenwood Village, Colorado, that provided a variety of services to

sports and entertainment entities.

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4. Individual-1 was the Co-Founder of CC Company-1.

5. Co-Conspirator 1 (“CC-1”), not named as a defendant herein, was an executive at
CC Company-1.

6. Co-Conspirator 2 (“CC-2”), not named as a defendant herein, was the Chief
Executive Officer of Co-Conspirator Company-2 (“CC Company-2”).

?. CC Company-2 was a company headquartered in New York, New York, that
provided a variety of services to sports and entertainment entities.

8. Organization-1 was an entertainment holding company headquartered in New
York, New York, that owned and operated several live entertainment venues.

9. Organization-2 was a live entertainment promotion and ticketing services company
headquartered in Beverly Hills, California.

10. —_Individual-2 was the Chief Executive Officer of Organization-2.

11. Individual-3 was an executive at CC Company-2.

12. | Organization-3 was a live entertainment promotion company headquartered in

Austin, Texas.

13. Organization-4 was a private equity firm headquartered in Menlo Park, California.

14. The University was a public university in Austin, Texas.

15. | The Arena was a multi-purpose arena that opened on the University’s campus in or
about 2022.

16. Whenever this Indictment alleges an act, deed, or transaction of a corporation, the

allegation means that the corporation engaged in the act, deed, or transaction by or through its
officers, directors, agents, employees, or other representatives while they were actively engaged

in the management, direction, control, or transaction of its business affairs.

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COUNT ONE
Conspiracy to Restrain Trade
[15 U.S.C. § 1]

17. Paragraphs | through 16 of this Indictment are re-alleged here.

18. | Beginning no later than in or about February 2018 and continuing until as late as in
or about June 2024, in the Western District of Texas and elsewhere, Defendant

TIMOTHY JOSEPH LEIWEKE
and his co-conspirators, known and unknown to the Grand Jury, entered into and engaged in a
combination and conspiracy to suppress and eliminate competition by rigging the bidding for the
Arena Project. The combination and conspiracy engaged in by LEITWEKE and his
co-conspirators was a per se unlawful, and thus unreasonable, restraint of interstate trade and
commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1). The combination and
conspiracy consisted of a continuing agreement, understanding, and concert of action among
LEIWEKE and his co-conspirators.
CHRONOLOGY OF THE OFFENSE
LEIWEKE and CC-2 Agreed to Rig the Bidding for the Arena Project

19. As early as in or about July 2016, CC Company-2 executives were aware that the
University was contemplating replacing its multi-purpose arena with a new multi-purpose arena.
In or about July 2016 and May 2017, a CC Company-2 executive contacted a University official
to express CC Company-2’s interest in developing the new arena.

20. In or about 2017, LETWEKE learned that the University was planning to issue a

request for qualifications and proposal (“RFQ”) for the Arena Project.

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21. In anticipation of the RFQ’s eventual release, which occurred in or about February
2018, CC Company-1 commenced discussions with various potential joint venture partners and
service providers, including, among others, Organization-2 and Organization-3.

Don On or about September 29, 2017, LETWEKE emailed Individual-1, Individual-2,
and an employee of Organization-2 to state, in part, “[S]urprisingly, [CC Company-2] is bidding
against us. I am assuming we can find a way to get [CC Company-2] some of the business, [food
and beverage], project management-seat license, and get them to back down.” LEIWEKE also
stated, in part, “Let me know what you guys hear on [CC Company-2] as I never underestimate
[CC Company-2’s Co-Founder] in Texas.” After receiving a response from Individual-1,
LEIWEKE further stated, in part, “curious why they [i.e., CC Company-2] want to compete
directly.”

23. Beginning no later than in or about November 2017, CC Company-2 took steps to
put together a competing bid for the Arena Project by contacting various entities, including entities
that specialized in arena construction, property development, facility management, and funding of
real estate investments. CC Company-2 engaged in direct discussions with the University and
began discussing potential bidding partners internally, including by email and text message.

24. On or about November 19, 2017, LETWEKE emailed Individual-1 to state, in part,
“We are told [that CC Company-2 is] bidding against us [for the Arena Project] ... . lam surprised
they want to now compete against us. Hard to give [CC-2] any business when he thinks he can do
everything, including those things we do.”

25) On or about November 29, 2017, LETWEKE emailed Individual-1 and

Individual-2 to state, in part, “Last time I heard, [CC Company-2] was going to bid on Austin

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against us. More than happy talking to them about not bidding and doing [food and beverage], but
no interest in working with them if they intend on putting in a bid.”

26. In or about February 2018, LETWEKE and CC-2 agreed that CC Company-2
would stand down and neither submit nor join an independent competing bid for the Arena Project.
In exchange for CC Company-2’s standing down from bidding, LETWEKE agreed with CC-2 that
CC Company-1 would include CC Company-2 in its bid and give CC Company-2 the subcontracts
for the Arena’s food and beverage services (“F&B”) and premium seating sales (“Premium”)
(collectively, the “Subcontracts”), the exact terms of which would be negotiated later.

Delt: On or about March 5, 2018, CC-1l emailed individuals associated with
Organization-4, stating that “[nJothing has been papered with [CC Company-2] but we clearly
didn’t want [CC Company-2] mobilizing against [CC Company-1].”

CC Company-2 Stood Down So That LETWEKE and CC Company-1 Would Win the Bid

28. In or about March 2018, CC Company-1 submitted the sole qualified bid in
response to the University’s RFQ.

29. The University had contemplated a two-stage process, under which bidders deemed
qualified in the first round would then submit bids in a second round. After reviewing
CC Company-1’s response—the only qualified response—the University notified CC Company-1
that it qualified.

30. Consistent with the bid-rigging conspiracy, CC Company-2 neither submitted nor
joined an independent competing bid for the Arena Project.

31. On or about March 26, 2018, LETWEKE emailed an Organization-4 executive,
copying CC-1 and others, to state, in part, “We were very clever at putting together a partnership

that scared everyone else away .... This allows us to dictate terms to [the University].”

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32. | Onor about December 18, 2018, the University conditionally awarded the contract
for the Arena Project to CC Company-1 and its joint venture partners.

CC Company-1 and CC Company-2 Discussed Subcontracts

33. After CC Company-1 submitted its RFQ response, CC Company-1 and
CC Company-2 communicated about the Subcontracts. On or about March 13, 2019, Individual-3
emailed CC-1 to state, in part, “As a reminder, our originally [sic] proposal was / is market [rate]
and that is what we expected when we stood down on bidding for this business.”

34. On or about April 16, 2019, CC-2 emailed LETWEKE to state, in part, “When I
agreed to not have [CC Company-2] bid on the Austin arena project separately (at your request)
and instead bid together, it was based on a commitment and representation from you (both written
and verbal) that [CC Company-2] would receive the Premium Seating and F&B business for the
project.” CC-2 further stated, in part, “We expect to get what we bargained for by standing down
on pursuing the Austin project based on your representations.”

35. Ultimately, CC Company-1 did not award CC Company-2 the Subcontracts nor
introduce CC Company-2 employees to individuals associated with Organization-1.
CC Company-1 handled F&B and Premium in-house, without subcontracting with another
company.

CC Company-1 Developed the Arena and Began to Reap Economic Rewards

36. On or about December 30, 2019, the University entered into the contract for the
Arena Project with CC Company-1 and its joint venture partners, and development began
thereafter.

37. On or about April 20, 2022, the Arena opened to the public, and CC Company-1

began receiving revenues, fees, and payments under the contract.

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38. To date, CC Company-1 continues to receive revenues, fees, and payments for the

management and operation of the Arena.
MANNER AND MEANS OF THE CONSPIRACY

The conspiracy was carried out through the following manner and means, among others:

39. LEITWEKE, on behalf of CC Company-1, discussed and agreed with CC-2 to
suppress and eliminate competition for the Arena Project by having CC Company-2 stand down
and neither submit nor join an independent competing bid.

40. LEIWEKE further discussed and agreed with CC-2 that, in exchange for
CC Company-2’s standing down and not competing for the Arena Project, CC Company-1 would
award to CC Company-2 the Subcontracts, as well as introduce individuals associated with
Organization-1 to CC Company-2 employees.

41. After CC-2 agreed with LETWEKE that CC Company-2 would stand down,
CC Company-2 notified certain companies with which it was discussing forming a separate bid
that it no longer sought to bid on the project with them.

42. In or about March 2018, CC Company-1 submitted its response to the University’s
RFQ. The University subsequently negotiated the contract for the Arena Project with
CC Company-1. The contract was finalized on or about December 30, 2019.

43. | CC Company-1 obtained revenues, fees, and payments under the Arena Project

contract and continues to do so.

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TRADE AND COMMERCE
44. The business activities of LETWEKE and his co-conspirators that are the subject
of this Indictment were within the flow of, and substantially affected, interstate commerce. For
example:

a. The charged conspiracy restrained a commercial activity—the provision of services
to develop, manage, and operate the Arena—that brought goods, services, people,
and funds from other states to Texas, and vice-versa;

b. In developing the Arena, LETWEKE and his co-conspirators used contractors and
subcontractors that operated both in Texas and in states outside of Texas;

c. LEIWEKE and his co-conspirators recerved revenues, fees, and payments from
customers located in Texas and outside of Texas: and,

d. LEIWEKE and his co-conspirators obtained financing for the project from

companies located outside of Texas.

ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.

A TRUE BILL

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OMEED A. ASSEFI SEAN FARRELL, Chief
Deputy Assistant Attorney New York Office
General Antitrust Division Antitrust Division

U.S. Department of Justice

tavern Tecgancder
STEVEN TUGANDER
RYAN D. BUDHU

PHILIP ANDRIOLE

SHIRIN MAHKAMOVA
Trial Attorneys

Antitrust Division

U.S. Department of Justice
201 Varick Street, Room 1006
New York, NY 160014

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U.S. Department of Justice

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